 

STATE OF NORTH CAROLINA »”” neve. {063

in The General Court Of Justice
["] District Superior Court Division

 

 

 

Name Of Plaintiff
Andrell Mackey, as Administratix of the Estate of Harold P, Easter

Address CIVIL SUMMONS

c/o James, McElroy & Diehl, P.A., 525 N. Tryon Street, Suite 700
Gikg State Zi CUALIAS AND PLURIES SUMMONS (ASSESS FEE}

 

 

 

 

 

Charlotte, NC 28202
VERSUS G.S. 1A-1, Rules 3 and 4
Name Of Defendant(s} Date Original Summons issued
Sergeant Nicholas Vincent (individually and in his official capacity
as a Sergeant of the Charlotte-Mecklenburg Police Department), Date(s} Subsequent Summons(es) issued
Officer Shon Sheffield, et al.

 

To Each Of The Defendant(s) Named Below:

Name And Address Of Defendant f Name And Address Of Defendant 2
Officer Shon Sheffield

 

1598 Tundra Ln.
Denver NC 28037

 

 

IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as
possible, and, if needed, speak with someone who reads English and can translate these papers!
jIMPORTANTE! |Se ha entablado un proceso civil en su contra! Estos papeles son documentos legales.
jNO TIRE estos papeles!

Tiene que contestar a mas tardar en 30 dias. ;Puede querer consuitar con un abogado Io antes posible
acerca de su caso y, de ser necesario, hablar con alguien que lea inglés y que pueda traducir estos
documentos!

A Civil Action Has Been Commenced Against You!
You are notified to appear and answer the complaint of the plaintiff as follows:

1, Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.
If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.

 

 

 

 
   

 

 

 

 

 

 

Name And Address Of Plaintiff's Allornay (if nane, Address Of Plaintiff Date issued Time ate
J. ALEXANDER HEROY, ESQ. 1-20-2022 Bas Use bbe
JAMES, McELROY & DIEHL, P.A. Signaturg )
525 N. TRYON STREET, SUITE 700 pct MOE hin iE ee crore enpaegsl
CHARLOTTE NC 28202 Ot Depuly CSC [| Assistant CSC [7] clerk OF Suparior Court
Dafe Of Endorsement Time
[_] ENDORSEMENT (ASSESS FEE} [Jam [Clem
This Summons was originally issued on the date indicated Signature
above and returned not served. At the request of the plaintiff,
the time within which this Summons must be served is
extended sixty (60) days. [7] Deputy osc [_] Assistant CSC [| Clerk OF Superior Court

 

 

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
jess are heard by an arbitrator before @ trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
80, what procedure is fo be followed,

(Over)
AOQC-CV-100, Rev. 448
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COUNTY OF MECKLENBURG 22-CVS- s
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STATE OF NORTH CAROLINA re ET

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ANDRELL MACKEY, as Administ RONSE ROURG CO. 6
the Estate of HAROLD P. EASTER, RY

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Plaintiff,

v.
COMPLAINT
SERGEANT NICHOLAS VINCENT (JURY TRIAL DEMANDED)
(individually and in his official capacity as a
Sergeant of the Charlotte-Mecklenburg Police
Department), OFFICER SHON SHEFFIELD
(individually and in his respective official
capacity as Officer of the Charlotte-Mecklenburg
Police Department), OFFICER BRENTLEY
VINSON (individually and in his respective
official capacity as Officer of the Charlotte-
Mecklenburg Police Department), OFFICER
MICHAEL S. BENFIELD (individually and in
his respective official capacity as Officer of the
Charlotte-Mecklenburg Police Department),
OFFICER MICHAEL R. JOSEPH (individually
and in his respective official capacity as Officer
ofthe Charlatte-Mecklonbure Palice

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Department), OFFICER JOHN DOE 1-5, and the
CITY OF CHARLOTTE,

Defendants.

 

 

Plaintiff Andrell Mackey, as Administratrix of the Estate of Harold P. Easter
(“Plaintiff”), complaining of Defendants Sergeant Nicholas Vincent and Officers Shon Sheffield,
Brentley Vinson, Michael S. Benfield, and Michael R. Joseph, and Defendant City of Charlotte,
alleges and says as follows:

Parties, Jurisdiction, and Venue
1. Plaintiff is an adult resident of Mecklenburg County, North Carolina. She is the

surviving sister of the decedent, Harold P. Easter (“Mr. Easter”), and is the duly-appointed
Administratrix for Mr. Easter’s Estate.

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2. At the time of Mr. Easter’s death, he was a resident of Mecklenburg County,
North Carolina.

3. Upon information and belief, Defendant Sergeant Nicholas Vincent (“Sergeant
Vincent”) is an adult resident of Mecklenburg County, North Carolina and suffers from no legal
disability. Upon information and belief, Sergeant Vincent is a 12-year veteran of the Charlotte-
Mecklenburg Police Department (“CMPD”), and at all times relevant to the allegations below
was a sergeant with CMPD and an agent and employee of the Defendant City of Charlotte.

4, Upon information and belief, Defendant Officer Shon Sheffield (“Officer
Sheffield”) is an adult resident of Mecklenburg County, North Carolina and suffers from no legal
disability. Upon information and belief, Officer Sheffield is a 7-year veteran of CMPD, and at
all times relevant to the allegations below was a police officer with CMPD and an agent and
employee of the Defendant City of Charlotte.

5. Upon information and belief, Defendant Officer Brentley Vinson (“Officer
Vinson”) is an adult resident of Mecklenburg County, North Carolina and suffers from no legal
disability. Upon information and belief, Officer Vinson is a 5-year veteran of CMPD, and at all
times relevant to the allegations below was a police officer with CMPD and an agent and
employee of the Defendant City of Charlotte.

6. Upon information and belief, Defendant Officer Michael S. Benfield (“Officer
Benfield”) is an adult resident of Mecklenburg County, North Carolina and suffers from no legal
disability. Upon information and belief, Officer Benfield is a 5-year veteran of CMPD, and at all
times relevant to the allegations below was a police officer with CMPD and an agent and
employee of the Defendant City of Charlotte.

7. Upon information and belief, Defendant Officer Michael R. Joseph (“Officer
Joseph”) is an adult resident of Mecklenburg County, North Carolina and suffers from no legal
disability. Upon information and belief, Officer Joseph is a 2-year veteran of CMPD, and at all
times relevant to the allegations below was a police officer with CMPD and an agent and
employee of the Defendant City of Charlotte.

8. Upon information and belief, Officers John Doe 1-5 are adult residents and
citizens of North Carolina and suffer from no legal disability. Upon information and belief,
Officers John Doe 1-5 were aware of and participated, condoned or failed to come to Mr.
Easter’s aid. At all times relevant to the allegations below, Officers John Doe 1-5 were police
officers with CMPD and an agent and employee of the Defendant City of Charlotte.

9, Sergeant Vincent and Officers Sheffield, Vinson, Benfield, Joseph, and John Doe
1-5 are sometimes collectively referred to below as the “CMPD Defendants.”

10. Defendant City of Charlotte (“City”) is a municipal corporation in Mecklenburg
County, North Carolina, duly chartered under the laws of the State of North Carolina. Pursuant
to the City’s charter, it maintains and operates a police force called the Charlotte-Mecklenburg
Police Department (CMPD). The City bears legal responsibility for acts and omissions of the

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CMPD and its police officers that occur in the course of any officer’s employment as a CMPD
officer and agent of the City, including without limitation the acts and omissions of the CMPD
Defendants, detailed below.

11. The City is not entitled to governmental immunity with respect to the claim raised
below under 42 U.S.C. § 1983.

12. Upon information and belief, the City waived governmental immunity that might
otherwise apply to the alternative negligence/gross negligence claim in this action. Upon
information and belief, the City purchased insurance, either by contract with an insurance
company or by participating in an insurance risk pool, that covers the claims raised in this action,
and the City thereby waived any potential defense of sovereign or governmental immunity.
Furthermore, upon information and belief, Defendants collectively waived sovereign immunity
through the purchase of one or more policies of liability insurance pursuant to N.C. Gen. Stat. §
160A-485, the purchase of a bond pursuant to N.C. Gen. Stat. § 162-8, and/or by participating in
a local government risk pool pursuant to N.C. Gen. Stat. § 58-23-5.,

13, Further, the CMPD Defendants’ negligent conduct, described above, occurred
while they were employees of the City. As public employees sued in their individual capacity,
they are not entitled to public official immunity. To the extent the CMPD Defendants are
considered to be public officials, their conduct was outside the scope of their authority, and was
done with malice and/or willful, wanton, or reckless disregard for the rights and safety of Easter.

14, This Court has jurisdiction over the parties and the subject matter of this action.

15. Venue is proper in Mecklenburg County because this is where the causes of
action arose.

16, This is an action to recover money damages resulting from Defendants’ failure to
provide Mr. Easter with medical care when he was in obvious distress and further suffered a
medical emergency in CMPD’s custody, and what the Mecklenburg County District Attorney
described as CMPD’s “abject failure of operating procedure and general standards of custodial
care.” Mr, Easter subsequently died.

17. The amount in controversy exceeds $25,000.

Factual Allegations

The Traffic Stop and Mr. Easter’s Arrest

18. On January 23, 2020, Sergeant Vincent was employed by the City as a CMPD
sergeant, and Officers Sheffield, Vinson, Benfield, Joseph, and John Doe 1-5 were each
employed by the City as CMPD officers. Upon information and belief, Officers Sheffield,
Vinson, Benfield, and Joseph were all under Sergeant Vincent’s command within the CMPD
Metro Division’s Crime Reduction Unit (“CRU”).

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19. On January 23, 2020, Mr. Easter was driving his car near Greenville Park in
Charlotte, North Carolina.

20. On that same day, around the time that Mr. Easter was driving his car near
Greenville Park, Officer Sheffield was driving a marked CMPD cruiser in the same area. Officer
Joseph was a passenger in the cruiser driven by Officer Sheffield.

21, Officer Sheffield observed Mr. Easter’s car and pulled his marked CMPD cruiser
behind Mr. Easter’s car. Officer Sheffield activated the roof-mounted light bar of his cruiser to
initiate a traffic stop and signal the operator of the car ahead of him (Mr. Easter) to pull over.

22. Mr. Easter pulled his car over and stopped at the side of the road near the
intersection of Whisnant Street and Burton Street at approximately 11:28 a.m.

23. Officer Sheffield pulled his cruiser to a stop behind Mr. Easter’s car. Before
Officer Sheffield exited the cruiser and made personal contact with Mr. Easter, Officer Sheffield
and/or Officer Joseph observed Mr. Easter eat an unknown quantity of a substance that was
determined shortly thereafter to be cocaine. Recorded audio of the traffic stop captured one of
the Officers saying, “He’s eating it,” referring to Mr. Easter. Officer Joseph told Officer
Sheffield that “[Mr. Easter] was trying to eat it hard.”

24, During the arrest of Mr. Easter, Mr. Easter ingested an unknown quantity of
cocaine and/or crack cocaine in the presence of, at least, Officer Sheffield.

25. After handcuffing Mr. Easter, Officers Sheffield Joseph searched Mr. Easter and
his car. The Officers reportedly found a smal! amount of marijuana and cocaine in the car.

26. When the Officers confronted Mr. Easter about the marijuana and suspected
other narcotics, Mr. Easter informed the officers that he used drugs.

27. Officer Benfield, who arrived on-scene in a separate vehicle shortly after Mr.
Easter was pulled over, then instructed Mr. Easter to open his mouth. Officer Benfield observed
crack cocaine on Mr. Easter’s tongue and said, “He was eating it.” Officer Benfield also
informed Officer Joseph that “{Mr. Easter has] crack all over his tongue.

28. Officer Vinson also reported that Mr. Easter ingested crack cocaine, including by
stating to Officer Sheffield that “[Mr. Easter] ate whatever he had.” Officer Sheffield responded,
“No he didn’t get all of it. I mean when I was fighting him, he was crushing part of it. Probably
got an 8-ball right there.”

29. During the arrest, Officer Joseph observed cocaine outside of Mr. Easter’s lip.

30. Mr. Easter requested a drink of water from the Officers, and stated “I’m
dehydrated officer.” Officer Joseph replied, You’ve got cocaine on your tongue. It’s going to
happen when you try to eat cocaine..”

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31. The Officers took Mr. Easter into custody, and placed him in the back seat of
Officer Sheffield’s cruiser.

32. In the cruiser, Mr. Easter asked Officers Sheffield and Joseph, “Officer, can I get
some air?” and “Officer, can I get hydrated?” In response to Mr. Easter’s requests for air and
water, one of the Officers simply replied, “That happens when you try to eat cocaine.” Neither
Officer opened a window to give Mr. Easter additional air, nor did they offer Mr. Easter any
water.

33, While in the cruiser, Mr. Easter told Sgt. Vincent that he had tried to swallow a
little bit of cocaine. Sgt. Vincent told Officer Vinson what Mr. Easter said.

34, Despite having knowledge that Mr. Easter ingested, or very likely ingested, an
unknown quantity of drugs, and was beginning to suffer the impacts, none of the CMPD officers
called for a medical evaluation of Mr. Easter or sought medical attention for him.

35. CMPD Policies required that Mr. Easter be immediately provided medical
attention.

36, Mr. Easter continued to request water throughout the car ride to the CMPD
Metro Division substation, located at 1181 Beatties Ford Rd, Charlotte, North Carolina (the
“Station”). At no point during the ride did Officer Sheffield or Officer Joseph offer Mr. Easter
any water, ask him about his physical condition, or provide medical aid of any kind.

37. During the car ride to the Station, Mr. Easter repeatedly asked Officers Sheffield
and Joseph for more air, stating that he couldn’t breathe. One of the Officers replied that if Mr,
Easter ‘could talk, then he could breathe’. Mr. Easter also repeatedly asked the Officers for
water, to talk to their sergeant, and to go to the bathroom.

38, Mr. Easter also exhibited certain erratic behavior, such as singing, yelling, and
constant talking while in the back seat of the cruiser.

39, At all relevant times, Mr. Easter, while erratic, was respectful of the CMPD
officers and took no action that would signal that he was a danger to any officer.

40, Mr. Easter, likewise, obeyed all commands given to him by the CMPD officers.

41, Upon information and belief, Mr. Easter’s repeated requests for air and water, as
well as his erratic behavior, were symptomatic of a medical emergency, and particularly related
to the increasing influence of the unknown quantity of cocaine coursing through his body.

42. Mr. Easter was in obvious medical distress while in the back seat of the CMPD
cruiser.

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Mr. Easter’s Medical Emergency and Untimely Death

43. Upon arriving at the Station approximately 50 minutes after first spotting Mr.
Easter’s vehicle, Mr. Easter continued to request water and told CMPD personnel that he had
swallowed something. CMPD personnel attempted to look inside Mr. Easter’s mouth, but
because he would not stop moving, CMPD personnel refused to give him any water. CMPD
strip searched Mr. Easter, but refused to provide any aid or even water.

44, At approximately 12:19 p.m., Officers Sheffield and Joseph took Mr. Easter to
an interrogation room, where his legs were shackled to the floor.

45, Officer Vinson was the arresting officer and the case officer, and therefore in
charge of and responsible for Mr. Easter’s custody under CMPD policies.

46, Mr. Easter was left alone, however, for approximately one hour in the
interrogation room. CMPD personnel did not monitor Mr. Easter while he was alone and
restrained in the interrogation room, despite the clear danger Mr. Easter was in and the ongoing
medical emergency he was sustaining.!

AT. At the time of Mr. Easter’s arrest, the CMPD Metro Division CRU office did not
have video monitors that allowed them to view interview rooms, including the interview in
which they placed Mr. Easter.

48. Mr. Easter stated, and then yelled, to the empty room that he had swallowed
something, he was hot, he needed water, and he urgently needed to go to the bathroom. Mr.
Easter stated that he supported his family and talked about a fireworks show for his children and
the neighborhood children.

49, Mr. Easter’s state declined further while he was shackled to the floor, alone in
the interrogation room, and he exhibited clear signs that he was in urgent need of medical
attention.

50. Had any Defendant, or any agent of Defendant, heard or seen Mr. Easter’s
behavior while he was shackled to the floor in the interrogation room, it would have or should
have been readily apparent that Mr. Easter needed emergency medical attention.

 

' CMPD policy at the time of Mr. Easter’s arrest provided, “unless that officer is relieved by
another sworn CMPD officer or custody is transferred to another law enforcement officer or
agency,” that “[o]fficers are responsible for the safety and security of individuals in the officer’s
custody and control and will not leave an individual for any reason,” and “[i]ndividuals who are
under arrest will remain within the view and control of the responsible arresting officer at all
times,” CMPD policy at that time further provided that if an individual was kept in an interview
room, they must be checked on at least every fifteen minutes, but that if an arrestee “is under the
influence of drugs. . . the arrestee will not be left alone.”

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51. Upon information and belief, numerous CMPD officers, including Officers John
Doe 1-5, heard Mr. Easter yelling incessantly and incoherently from inside the interrogation
room, yet did nothing.

52. The only response during Mr. Easter’s manic episode was when Officer Vinson
entered the interrogation room after approximately 30 minutes and gave Mr. Easter a small
plastic cup of water, which Mr. Easter quickly drank. Officer Vinson then quickly left the room.
Mr, Easter then remained alone in the interrogation room for approximately another 20 minutes
before anyone checked on him, despite screams by Mr. Easter for help.

53. While Mr. Easter was alone in the interrogation room, he experienced a full-body
seizure and convulsed on the table for several minutes. He coughed and/or vomited blood onto
the floor, exhibited slurred speech, and appeared to be in extreme distress.

54, At this point, no CMPD personnel entered the interrogation room to render aid to
Mr. Easter. Upon information and belief, no CMPD personnel contacted emergency medical
services to render aid to Mr. Easter.

55, Mr. Easter stated, to the empty interrogation room, that he was going to die and
that he was already dying. Mr. Easter then alternated between singing, yelling, and crying as he
clawed at the table before eventually going limp. Mr. Easter then fell off the table and onto the
floor of the interrogation room, where he experienced another major seizure.

56, Mr. Easter remained on the floor and exhibited heavy, labored breathing in
between a series of smaller convulsions.

57. Had any officer monitored Mr. Easter in-person or via video feed, his medical
distress and the need for emergency medical attention would have been immediately apparent.
However, he was not continually monitored by any CMPD officer.

58. For approximately eight (8) to ten (10) minutes after Mr. Easter fell off the table,
he lay convulsing on the floor of the interrogation room, alone. Only after those eight to ten
minutes did CMPD personnel entered the room,call out for a medic, and for the administration of
Narcan.

59, Upon information and belief, CMPD personnel then administered two (2) doses
of Narcan to Mr. Easter, attempting to counteract the effects of the cocaine in Mr. Easter’s
system. Mr. Easter nevertheless continued convulsing violently, with blood bubbling out of his
nose, as one member of CMPD personnel said, “let him ride it out.”

60, CMPD personnel attempted to monitor Mr. Easter’s vital signs, and at one point
could no longer detect a pulse. CMPD personnel then performed CPR and temporarily revived
Mr. Easter, who gasped for breath while fluid streamed out of his mouth. Mr. Easter’s pulse
remained erratic, and CMPD personnel continued performing CPR and used a defibrillator to try
and revive him.

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61. Emergency medical services arrived at the Station at approximately 1:21 p.m.
and transported Mr. Easter via ambulance from the Station to Novant Presbyterian Medical
Center, located at 200 Hawthorne Lane, Charlotte, North Carolina (“Hospital”). Upon
information and belief, Mr. Easter was unresponsive when EMS arrived at the Station, and he
suffered cardiac arrest prior to and/or while he was being transported to the Hospital.

62, At the Hospital, Mr. Easter was placed on life support but never regained
consciousness. He died at the age of 41.

63. Mr. Easter’s Certificate of Death (Certificate No. 2020000539) stated that he
died on January 26, 2020, three (3) days after the traffic stop. The Certificate listed both the
immediate cause of Mr. Easter’s death and the manner of his death as “pending,” and indicated
that the case had been referred to the medical examiner. However, the Certificate specified Mr.
Easter’s injury as “drug ingestion.”

64, In conjunction with the performance of an autopsy on Mr. Easter’s body, a
postmortem sample of Mr. Easter’s blood was examined by the Office of the Chief Medical
Examiner in Raleigh, North Carolina. The Medical Examiner’s Toxicology Report (Case Folder
F202000103; Toxicology Folder T202000906) confirmed the existence of cocaine and cocaine
metabolites in Mr. Easter’s blood.

FIRST CLAIM FOR RELIEF
Wrongful Death of Harold P. Easter

65. Plaintiff repeats and realleges the factual allegations set forth throughout this
Complaint.

66. Defendants’ acts and omissions, detailed above, were a direct and proximate
cause of the injuries sustained by Mr. Easter while he was in CMPD’s custody and that
subsequently led to his wrongful death.

67. As a direct and proximate result of Mr. Easter’s wrongful death, his heirs have
been deprived of the net economic value of his earnings for the remainder of his life expectancy,
as well as his protection, care, assistance, society, companionship, comfort, guidance, effects,
offices, and services.

68. |The CMPD Defendants are liable in their respective individual capacities, and are
liable as employees of the City. The CMPD Defendants’ actions and inactions detailed above
are imputed to the City under agency principles, vicarious liability, and/or the doctrine of
respondeat superior.

69. Plaintiff is entitled to recover, in her capacity as the Administratrix for Mr.
Easter’s Estate, all such damages set forth in N.C. Gen. Stat. § 28A-18-2 for Mr. Easter’s
wrongful death, in an amount exceeding $25,000 to be determined at trial, and for which
Defendants are jointly and severally liable.

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SECOND CLAIM FOR RELIEF
Negligence/Gross Negligence — All Defendants

70. Plaintiff repeats and realleges the factual allegations set forth throughout this
Complaint.

71. At all times while Mr. Easter was in CMPD’s custody, the City and the CMPD
Defendants owed a duty of reasonable care to Mr. Easter.

72. | The CMPD Defendants’ actions and inactions detailed above are imputed to the
City under agency principles, vicarious liability, and/or the doctrine of respondeat superior.

73. The CMPD Defendants acknowledged on multiple occasions that Mr. Easter had
ingested an unknown quantity of cocaine, but yet they failed to, at a bare minimum, take reasonable
steps to determine (or have a medical professional determine) how much cocaine Mr. Easter had
ingested, and they failed to continuously monitor his condition while he was chained to the floor of
the interrogation room.

74. The City and the CMPD Defendants breached their legal duties to Mr. Easter
while he was in CMPD’s custody, and Defendants were negligent/grossly negligent in at least the
following ways:

a. Officers Sheffield, Joseph, and Benfield failed to immediately summon
proper medical care for Mr. Easter despite observing, and then confirming
during the traffic stop, that Mr. Easter had ingested an unknown quantity
of cocaine;

b. Alternatively, Officers Sheffield, Joseph, and Benfield failed to transport
Mr. Easter to an emergency medical facility so that he could receive
proper medical attention before they transported him to the Station;

C. Officers Sheffield, Joseph, and Benfield failed to notify their immediate
supervisor(s), including without limitation Sergeant Vincent, that Mr.
Easter had ingested an unknown quantity of cocaine;

d. The CMPD Defendants failed to immediately summon proper medical
care at the Station when Mr. Easter, who had been arrested (in part) on
drug charges, stated that he had swallowed something and he repeatedly
requested water;

€. The CMPD Defendants violated numerous CMPD Policies and Directives
regarding the treatment and care that should have been provided to Mr.
Easter;

f. The CMPD Defendants failed to continuously monitor Mr. Easter at the

Station, whether in person or via live video feed, for possible signs of

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distress while he was restrained in the interrogation room and was under
the effects of an unknown quantity of cocaine;

The CMPD Defendants failed to identify Mr. Easter’s state of extreme
physical and mental distress despite clear signs that he was experiencing
increasingly deleterious effects from ingesting an unknown quantity of
cocaine — e.g,, Mr. Easter sang while handcuffed in the back of the cruiser;
he requested air and reported an inability to breathe properly; he reported
being hot; he repeatedly requested water; and he made rambling
statements to the thin air about guardian angels and fireworks;

The CMPD Defendants failed to recognize Mr. Easter’s heightened
susceptibility to asphyxiation because he ingested an unknown quantity of
cocaine;

The CMPD Defendants failed to recognize Mr, Easter’s heightened
susceptibility to excited delirium because he ingested an unknown
quantity of cocaine;

The CMPD Defendants failed to recognize the possibility that Mr. Easter
could die without proper medical care because he ingested an unknown
quantity of cocaine;

The CMPD Defendants failed to properly monitor Mr. Easter or provide
adequate and necessary medical care after finding Mr. Easter experiencing
a seizure in the interrogation room;

The City failed to implement adequate policies and procedures with
respect to proper methods for evaluating and addressing the health and
condition of a person in CMPD’s custody who had ingested and unknown
quantity of narcotics;

The City’s policy and procedure at the time was to not continuously
monitor pre-trial detainees in interrogation rooms, despite the known,
foreseeable risks of medical emergencies and/or harm to such detainees;

The City failed to adequately train and instruct its officers, including
without limitation the CMPD Defendants, with respect to proper methods
for evaluating and addressing the health and condition of a person in
CMPD’s custody who had ingested and unknown quantity of narcotics;

The City failed to adequately train and instruct its officers, including
without limitation the CMPD Defendants, with respect to proper
monitoring of pre-trial detainees in interrogation rooms;

Defendants were careless and negligent in such other ways as may be
identified during the course of discovery and/or trial.

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75. Defendants’ actions and omissions, detailed above, amounted to a conscious and
intentional disregard for, and were indifferent to, Mr. Easter’s rights and safety while he was in
CMPD’s custody.

76. Defendants’ acts and omissions were willful, wanton, and/or reckless, and
constituted gross negligence.

77. Defendants’ acts and omissions were a direct and proximate cause of Mr.
Easter’s injuries while in CMPD’s custody, and his subsequent death.

78. The CMPD Defendants are liable in their respective individual capacities, and
are liable as employees of the City. The CMPD Defendants’ actions and inactions detailed
above are imputed to the City under agency principles, vicarious liability, and/or the doctrine of
respondeat superior.

79. Plaintiff is entitled to recover, in her capacity as the Administratrix for Mr.
Easter’s Estate, all such damages set forth in N.C. Gen. Stat. § 28A-18-2 for Defendants’ gross
negligence, in an amount exceeding $25,000 to be determined at trial, and for which Defendants
are jointly and severally liable.

THIRD CLAIM FOR RELIEF
Punitive Damages — All Defendants

80. Plaintiff repeats and realleges the factual allegations set forth throughout this
Complaint.

81. Defendants’ actions, detailed above, constitute callous and deliberate indifference
to Mr. Easter’s Constitutional due process rights under the Fourteenth Amendment, which justify
an award of punitive damaged under 42 U.S.C. § 1983.

82. Defendants’ actions, detailed above, further constitute willful and wanton conduct
under N.C. Gen. Stat. §1D-1, et seg., and are imputed to the City under agency principles,
vicarious liability, and/or the doctrine of respondeat superior.

83. Plaintiff is entitled to recover, in her capacity as the Administratrix for Mr.
Easter’s Estate, all such damages set forth in N.C. Gen. Stat. §§ 1D-1 and 28A-18-2 for
Defendants’ above-described conduct, and for which Defendants are jointly and severally liable.

FOURTH CLAIM FOR RELIEF
Violations of 42 U.S.C, § 1983 — All Defendants

84, Plaintiff repeats and realleges the factual allegations set forth in the preceding
paragraphs.

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85, As detailed above, the CMPD Defendants wrongfully deprived Mr. Easter of
potentially life-saving medical care that may have counteracted the narcotic overdose that he
suffered while in CMPD’s custody.

86. The CMPD Defendants knew or should have known that Mr. Easter had ingested
illicit contraband, as evidenced by their recorded statements to Mr. Easter and each other, and the
immediate administration of Narcan upon discovering Mr. Easter in medical distress in the
interview room.

87. The CMPD Defendants knew of but were deliberately indifferent to Mr. Easter’s
serious medical needs, in that in the process of arresting him they witnessed him swallow illicit
contraband which they almost immediately confirmed to be cocaine, observed Mr. Easter’s
behavior become increasingly erratic even as he asked for water and said he could not breath, but
nonetheless, and despite knowing the substantial risk of medical harm or death to Mr. Easter as a
result of ingesting and potentially overdosing on cocaine, completely disregarded that risk by
failing to provide or request any medical treatment for Mr. Easter or to even monitor his
condition while he remained alone in an interrogation room. Instead, CMPD either handcuffed
or shackled him, denied him water, and left him alone to die.

88. Moreover, the CMPD Defendants’ conduct was in direct violation of CMPD
policy directly addressing the known, substantial risk of harm to detainees experiencing a
medical emergency due to the consumption of drugs or other substances.

89. Upon information and belief, the City’s policy and procedure at the time was that
if a CMPD officer had reason to believe that an individual taken into CMPD custody had
ingested an illegal substance or contraband, including without limitation narcotics, the officer
was required to:

a. Immediately contact emergency medical services and transport the
individual to a medical facility before processing the arrest or transporting
the individual to lock-up or to jail;

b, Immediately notify that officer’s direct supervisor that the individual in
CMPD custody had ingested contraband; and

C, If an arrest was appropriate, complete the arrest process after the
individual was released from the medical facility.

90. In contravention of this policy, the CMPD Defendants failed to contact
emergency medical services and transported Mr. Easter directly to the police station rather than a
medical facility. Upon information and belief, the CMPD Defendants further failed to notify
their direct supervisor that Mr. Easter had ingested contraband.

91. Mr. Easter was helpless while restrained in CMPD’s custody, and exhibited
numerous signs of escalating distress after he ingested an unknown quantity of cocaine,
including without limitation his statements that he was hot, he needed air and could not breathe,
and he needed water. The CMPD Defendants acknowledged on multiple occasions that Mr.

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Easter had ingested an unknown quantity of cocaine, but yet they failed to, at a bare minimum,
take reasonable steps to determine (or have a medical professional determine) how much cocaine
Mr. Easter had ingested, and they failed to continuously monitor his condition while he was
chained to the floor of the interrogation room.

92. The CMPD Defendants’ conduct towards Mr. Easter was willful and wanton in
that they consciously and intentionally disregarded, and were deliberately indifferent to, Mr.
Easter’s rights and safety, the result of which Defendants knew was reasonably likely to be
severe physical injury or — as was the case here — death.

93. | The CMPD Defendants’ conduct violated Mr. Easter’s constitutional rights under
42 U.S.C. § 1983.

94. Upon information and belief, the City also had a policy and procedure at the time
that officers were not required to continuously monitor pre-trial detainees in interrogation rooms
— even those who were confirmed to have, or suspected of having, ingested narcotics — despite
the known risks of medical emergencies and/or harm to such detainees.

95. Upon information and belief, the City also failed to provide all officers with the
ability to remotely monitor detainees inside interview rooms through video monitors or other live
feeds.

96. The City also failed to adequately train and instruct its officers, including without
limitation the CMPD Defendants, with respect to proper methods for evaluating and addressing
the health and condition of a person in CMPD’s custody who had ingested an unknown quantity
of narcotics.

97. The City further failed to adequately train and instruct its officers, including
without limitation the CMPD Defendants, with respect to the proper monitoring of pre-trial
detainees in interrogation rooms.

98. As a direct and proximate result of Defendants’ actions and inactions, Mr. Easter
was forced to endure extreme pain and suffering, and the deprivation of rights guaranteed by the
Constitution of the United States of America.

99. Among other violations, Defendants’ conduct violated Mr. Easter’s substantive
due process rights under the Fourteenth Amendment, as a pre-trial detainee who had not been
adjudicated guilty of any crime, to be free from punishment — including the deprivation of
necessary medical care.

100. The CMPD Defendants are liable in their respective individual and official
capacities, and are liable as employees of the City. The CMPD Defendants’ actions and
inactions detailed above are imputed to the City under agency principles, vicarious liability,
and/or the doctrine of respondeat superior.

101. The City is further liable on the basis of its failure to establish and implement a
policy requiring proper monitoring of pre-trial detainees in interrogation rooms, and its failure to

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properly train and instruct the CMPD Defendants with respect to both existing policies regarding
necessary medical attention for detainees who ingested contraband and the need to monitor
detainees in interrogation rooms.

102. Moreover, Mr. Easter’s overdose was a sadly predictable result of the City’s
failure to implement a policy and procedure requiring proper monitoring of pretrial detainees,
and concurrent failure to train its officers in proper monitoring, particularly in situations where
the detainee was known to have ingested contraband.

103. Plaintiff is entitled to recover, in her capacity as the Administratrix for Mr.
Easter’s Estate, damages for Defendants’ violations of Mr. Easter’s constitutional rights in an
amount exceeding $25,000 to be determined at trial, and for which Defendants are jointly and
severally liable.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Andrell Mackey, as Administratrix ofthe Estate of Harold P.
Easter, respectfully prays the Court for the following relief:

1. That the Court enter judgment in Plaintiffs favor on her claim against
Defendants, jointly and severally, for Mr. Easter’s wrongful death, negligence and gross
negligence, and violations of Mr. Easter’s constitutional rights under 42 U.S.C. §1983, and
award Plaintiff damages in an amount to be proven at trial but in excess of $25,000, plus interest;

2. That the Court award Plaintiff punitive damages against Defendants, jointly and
severally, for their willful and wanton conduct, pursuant to N.C. Gen. Stat. §§ 1D-1, et seq.;

3. That the Court award Plaintiff her attorneys’ fees, to the extent permitted by law;

4, That the Court tax the costs of this action against Defendants, jointly and
severally;

5. For a trial by jury on all issues so triable; and

6. That the Court grant Plaintiff such other relief that the Court deems just and
equitable under the circumstances.

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This the 20" day of January, 2022.

JAMES, McELROY & DIEHL, P.A.

 

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